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                         IN THE UNITED STATES DISTRICT COURT
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                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                    SOUTHERN DIVISION
14
        MASIMO CORPORATION,                    ) Case No. 8:20-cv-00048-JVS-JDE
15      a Delaware corporation; and            )
        CERCACOR LABORATORIES, INC.,           ) [PROPOSED] ORDER GRANTING
16      a Delaware corporation                 ) PLAINTIFFS’ MOTION FOR
                                               ) PARTIAL SUMMARY JUDGMENT
17                  Plaintiffs,                )
                                               )
18            v.                               )
                                               )
19      APPLE INC., a California corporation   )
                                               )
20                  Defendant.                 )
                                               )
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     Case 8:20-cv-00048-JVS-JDE Document 1086-1 Filed 12/19/22 Page 2 of 2 Page ID
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1                  The Court, having considered Plaintiffs’ Motion for Partial Summary Judgment,
2       and having read the submissions of the parties and considered any arguments of
3       counsel, and good cause appearing, IT IS HEREBY ORDERED that:
4                  1. The Motion is GRANTED.
5                  2. Plaintiffs Masimo Corporation and Cercacor Laboratories, Inc. (collectively,
6                     “Masimo”) are entitled to partial summary judgment as a matter of law that
7                     Apple misappropriated Masimo’s Trade Secrets D-9 through D-15.
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9                  IT IS SO ORDERED.
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        Dated:________________                    ___________________________
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                                                   Hon. James V. Selna
13                                                 United States District Judge
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